      Dated: 6/15/2018

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                               )
                                     )
STACI ALEXANDER                      )    CHAPTER:    13
SSN: XXX-XX-0493                     )    CASE NO.:   17-03874
2600 FLAMINGO DRIVE                  )    JUDGE:      HARRISON
NASHVILLE, TN 37207                  )
                                     )
   Debtor.                           )
     ORDER GRANTING DEBTOR’S EXPEDITED MOTION FOR DEBTOR TO UTILIZE
 INSURANCE PROCEEDS TO PAY CLAIM OF LIENHOLDER AND REQUIRE RELEASE OF
                                 TITLE

         THIS CAUSE CAME TO BE HEARD on the 13th day of June, 2018, upon the Expedited

Motion to Utilize Insurance Proceeds to Pay Claim of Lienholder and Require Release of Title filed by

the Debtor. At the call of the docket the Court found that there was no objection to said motion and that

the motion is well taken and shall be GRANTED as follows:

         1.     The Debtor shall be authorized to use insurance proceeds received from Auto-Owners

Insurance in the approximate amount of $12,379.17 in order to pay the balance owed for the 2015 Nissan

Altima, which was destroyed in a recent accident, and to use any remaining balance of the insurance

proceeds as a down payment on the replacement vehicle.

         2.     Auto-Owners Insurance shall issue two (2) separate checks, one to Insolve Auto Funding

in the amount of $12,101.01, made payable to Insolve Auto Funding and mailed to Dept 3403, PO

Box 123403, Dallas, TX 75312-3403, representing payment in full. The Trustee shall cease payments on

the claim to Insolve Auto Funding (ECF Claim #1). InSolve Auto Funding would be required to file a

separate claim if any deficiency were to occur.

         3.     The second check for the remaining balance shall made payable to the Debtor and mailed

directly to her to be used as a down payment on a replacement vehicle.




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        4.      Insolve Auto Funding shall be required to release the lien on the title of the destroyed

2015 Nissan Altima, and remit same to Auto-Owners Insurance, 5410 Virginia Way, Brentwood, TN

37027-7530, to allow Auto-Owners Insurance to dispose of the salvage.

        5.      Insolve Auto Funding shall be required to execute all necessary forms to complete this

transaction as quickly as possible.

        6.      Counsel for the Debtor shall file an Application for Fees.

        7.      Plan payments shall be reduced from $440.00 weekly to $365.75 weekly.

        8.      The monthly payments to Insolve Auto Funding shall cease.

        9       The dividend of zero percent (0%) shall remain the same and the base shall be reduced

from $108,200.00 to $98,697.92 and the unsecured pool shall remain non-applicable.

        10.     The Debtor shall be authorized to incur debt with a principal amount of no more than

$15,000.00, with an interest rate of no more than 22% and a monthly payment of no more than $350.00.

        IT IS SO ORDERED.

                                                     THIS ORDER WAS SIGNED AND ENTERED ELECTRONICALLY AS
                                                     INDICATED AT THE TOP OF THE FIRST PAGE.

APPROVED FOR ENTRY:


/s/ Mary Beth Ausbrooks
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                                                                             This Order has been electronically
                                                                             signed. The Judge's signature and
                                                                             Court's seal appear at the top of the
                                                                             first page.
                                                                             United States Bankruptcy Court.

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